         Case  1:19-md-02915-AJT-JFA Document 55 Filed 11/14/19 Page 1 of 2 PageID# 138
           RCCfltVED
           MAILROOM


                                       IN THE UNITED STATES DISTRICT COURT
         NOV
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

   CLEP.K "                .■UFtT
       MPUCATIQNJ.O QLIAU FY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                                          CRIMINAL RULE 57.4
                   In Case Number I:i9md29l5                     Case Name in RE: CAPITAL ONE CONSUMER DATA S|S
                   Party Represented by Applicant: Plaintiffs Christina Labajo and Mary Yoon
To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT


FULL NAME (no initials, please) Philip Lawrence Fraietta
Bar Idenliftcation Number 5297825                State NY
Firm Name Bur$or& Fisher PA
Firm Phone # (646)837 7150                     Direct Dial       (646) 837 7142                     FAX # (212) 9899163
E-Mail Address pfraietta@bursor.coiin
Office Mailing Address 888 7th Ave, 3rd Floor, New York, NY 10019

Name(s) of federal court(s) in which 1 have been admitted See attachment "A"

t certify that the rules of the federal court in the district in which I maintain my office extend a similar/7ro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.


1 hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.


I am       am not ^ a full-time employee of the United States of America, and if so^^e^^^^p^^^g^oHrdieMmission fee.
                                                                                          (Applicant'j^ignature)

1, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that 1 have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.


                                                   (Signature)                                                     (Date)

                                                                 Typed or Printed Name)                            (VA Bar Number)
Court Use Only:

Clerk's Fee Paid             or Exemption Granted

The motion for admission is GRANTED                  .or DENIED.



                         Jr':n F.

                         (Judge's Signature)                 '                                    (Dale)
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